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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA


BETTE EAKIN, et al,                            )
                                               )
         Plaintiffs                            )
                                               )
vs.                                            )       C.A.No. 1:22-CV-340
                                               )
ADAMS COUNTY BOARD OF                          )
ELECTIONS, et al,                              )       ECF Nos. 280, 281, 286, 287, 377
                                               )
         Defendants.                           )

                                             ORDER

         AND NOW, this 31st day of March 2025;

         IT IS HEREBY ORDERED that judgment is granted in favor of all Defendants and

against all Plaintiffs on the claim that 25 Pa. Con. Stat. § § 3146.6(a) and 3150.16(a) violated the

Materiality Provision of the Civil Rights Act (“the statutory claim”). See Pennsylvania State

Conference of NAACP Branches v. Sec’y Commonwealth of Pennsylvania, 97 F.4th 120 (3d Cir.

2024).

         IT IS FURTHER ORDERED that the motion for summary judgment filed by Plaintiffs

[ECF No. 287] is granted in part and denied in part. The motion is granted insofar as a

declaratory judgment is entered in favor of Plaintiffs declaring that the date instruction, as it

appears in 25 Pa. Con. Stat. § § 3146.6(a) and 3150.16(a), and any other provision that requires

county boards to reject ballots contained within envelopes without a correct date violates the

First and Fourteenth Amendments to the U.S. Constitution. IT IS FURTHER ORDERED that all

County Boards of Elections of the Commonwealth, their respective agents, officers, employees,

and successors, and all persons acting in concert with each or any of them, from rejecting or
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refusing to count otherwise valid mail ballots due to a missing or incorrect date. IT IS

FURTHER ORDERED that Plaintiffs’ motion is denied with respect to the statutory claim.

       IT IS FURTHER ORDERED that the motions for summary judgment filed by the RNC

[ECF No. 281, 377] are granted in part and denied in part. The motions are granted insofar as

judgment is entered in favor of the RNC on the statutory claim as noted above, but denied as to

Plaintiffs’ constitutional claim under the First and Fourteenth Amendments.

       IT IS FURTHER ORDERED that the motion for summary judgment filed by the

Lancaster County Board of Elections [ECF No. 280] is granted in part and denied in part. The

motion is granted insofar as Plaintiff Bette Eakin’s claims against it are dismissed for lack of

standing and judgment is entered in favor of the Lancaster County Board on the statutory claim

as noted above, but denied as to Plaintiffs’ constitutional claim under the First and Fourteenth

Amendments.

       IT IS FURTHER ORDERED that the motion for summary judgment filed by the Berks

County Board of Elections [ECF No. 286] is granted in part and denied in part. The motion is

granted insofar as Plaintiff Bette Eakin’s claims against it are dismissed for lack of standing and

judgment is entered in favor of the Lancaster County Board on the statutory claim as noted

above, but denied as to Plaintiffs’ constitutional claim under the First and Fourteenth

Amendments.

       The Clerk of Court is directed to close this case. A Rule 58 judgment shall be entered

separately.



                                                          _________________________________
                                                          SUSAN PARADISE BAXTER
                                                          United States District Judge
